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Frederic M. Wolfram
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Attorneys for Arpan Bhakta and Manjula Bhakta, Parties in Interest

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                        AMARILLO DIVISION

 In Re:                                                           *
                                                                  *
 Krisu Hospitality, LLC                                           *              Case No. 2:19-bk-20347-rlj11
                                                                  *
                                                                  *

                          NOTICE OF APPEARANCE, REQUEST FOR ALL
                         NOTICES AND DEMAND FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that the undersigned appears on behalf of Arpan Bhakta and

Manjula Bhakta, a party in interest and possible counterclaimant, creditor of Debtor, and hereby

gives this notice of appearance in the above-captioned proceeding and requests notice of all hearings

and conferences herein and make its demand for service of all papers herein including all papers and

notice pursuant to Bankruptcy Rules 2002, 3017, 9007 and 9010 and §342 and §1109(b) (if

applicable) of the Bankruptcy Code. All notices given or required to be given in this case and all

papers served or required to be served in this case shall be given to and served upon the undersigned

at the following office address and telephone number. This notice of appearance is not a waiver of

any right to challenge the eligibility of the Debtor for relief under the Bankruptcy Code.




Notice of Entry of Appearance
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          PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules and Sections of the Bankruptcy Code

specified above, but also includes, without limitation, the schedules, statement of financial affairs,

operating reports, any plan of reorganization or disclosure statement, any letter, application, motion,

complaint, objection, claim, demand, hearing, petition, pleading or request, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, delivery, telephone,

telegraph, telex or otherwise filed with or delivery to the Bankruptcy Clerk, Clerk, Court or Judge

(as those terms are defined in Bankruptcy Rule 900l) in connection with and with regard to the above

referenced bankruptcy case and any proceedings related thereto.

Dated November 11, 2019

                                                   Respectfully submitted,

                                                   THE WOLFRAM LAW FIRM, P.C.
                                                   Chase Tower
                                                   600 S. Tyler St.
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                                                   Amarillo, Texas 79101-2361
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                                                   Frederic M. Wolfram
                                                   Texas Bar I.D. No. 21869900
                                                   Colorado Bar I.D. No. 48867

                                                   ATTORNEYS FOR ARPAN BHAKTA AND MANJULA
                                                   BHAKTA




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                                            CERTIFICATE OF SERVICE

        I, Frederic M. Wolfram, do hereby certify that on November 11, 2019, the date of filing of
this instrument, the above and foregoing was sent to all parties entitled to same, including the
following, electronically under the ECF filing system.

 Krisu Hospitality, LLC, Debtor in Possession                        United States Trustee
 500 W. Harvester                                                    Northern District of Texas
 Pampa, TX 79065                                                     1100 Commerce Street
                                                                     Room 976
                                                                     Dallas, TX 75202
 Patrick Alan Swindell, Attorney for DIP                             Internal Revenue Service
 Swindell Law Firm                                                   Special Procedures–Insolvency
 106 SW 7th Ave.                                                     PO Box 7346
 Amarillo, TX 79101                                                  Philadelphia, PA 19101-7346

Date: November 11, 2019


                                                   Frederic M. Wolfram




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